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 6   Attorney for Defendant
     SHERLYN CHARLES
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                    )
     UNITED STATES OF AMERICA,                            Case No.: 2:14-cr-0239−GEB
                                                      )
11                                                    )
                           Plaintiff,                     STIPULATION AND ORDER TO
                                                      )   CONTINUE STATUS CONFERENCE
12                                                    )
     vs.                                              )
13                                                    )
     SHERLYN CHARLES,                                 )
14                                                    )
                  Defendant
                                                      )
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            The United States of America, through its counsels of record, Phillip A. Talbert, United
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18
     States Attorney for the Eastern District of California, and Jill Thomas, Assistant United States

19   Attorney, and defendant Sherlyn Charles, through her attorney, Ronald Peters, Esq, hereby
20   stipulate and agree that the Status Conference scheduled for December 15, 2017 at 9:00 am shall
21
     be continued to, January 26, 2018 at 9:00 a.m.
22
            Defense requests additional time to review discovery and continue to undergo defense
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24   investigation. Accordingly the defendant agrees that a Local Rule T-4 exclusion would be

25   applicable.
26
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
 2
     time be excluded under this provision December 15, 2017 to and including January 26, 2018.
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 5
                                                         Respectfully Submitted,
                                                         PHILLIP A. TALBERT
 6                                                       United States Attorney
 7

 8   DATE: December 13, 2017                             /s/ Ron Peters for Jill Thomas
                                                         JILL THOMAS
 9                                                       Assistant U.S. Attorney
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11   DATE: December 13, 2017                             /s/Ron Peters
                                                         RON PETERS
12                                                       Attorney for Defendant
                                                         Sherlyn Charles
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                              STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1                                              PROPOSED ORDER
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            The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
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 5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

 6   defense counsel reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
 8
     the ends of justice served by the granting of such continuance outweigh the interests of the public
 9
     and that the time from the date of the stipulation, December 15, 2017, to and including January
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11   26, 2018.

12           It is so ordered.
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            Dated: December 15, 2017
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                                 STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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